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              DESCRIPTION                                   COMPANY                                   CONTACT                              ADDRESS1                          ADDRESS2                    CITY      STATE       ZIP                         EMAIL
Top 20 Creditor                              32 E LLC                                  In Care of Chestnut Holdings of NY       5676 Riverdale Ave Suite 307                                     Bronx            NY       10471        lporto@chestnutholdings.com
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Top 20 Creditor                              755 Co-op City Associates LP              Triangle Equities Management Co LLC      30-56 Whitestone Expressway                                      Whitestone       NY       11354        ehenderson@triequities.com
Top 20 Creditor                              Admissions US, LLC                        Campus Management Corp                   Attn Billing                                                     Boca Ration      FL       33487        lkgopana@campusmgmt.com
Top 20 Creditor                              ATI LLC                                                                            11161 Overbrook Rd                                               Plainview        NY       11803        liza.rudneva@atitesting.com
                                             Bedford Stuyvesant Restoration
Top 20 Creditor                              Corporation                                                                        2368 Fulton Street                                               Brooklyn         NY       11216
                                                                                                                                                                                                                                        gwalter@bsk.com;
Counsel to Mercy College                     Bond, Schoeneck & King, PLLC              Grayson T Walter, Stephen A Donato       One Lincoln Center, 18th Floor                                   Syracuse         NY       13202        sdonato@bsk.com
Pre-Petition Lenders                         Carney Family Charitable Foundation       c/o Claremont Companies                  Lakeshore Center                                                 Bridgewater      MA       02324
Pre-Petition Lenders                         Citizens Bank/DASNY                       Accounts Receivable                      515 Broadway                                                     Albany           NY       12207
Top 20 Creditor                              Con Edison                                JAF Station                              PO Box 1701                                                      New York         NY       10116-1701
Vendor                                       Culinart                                                                           175 Sunnyside Blvd.                                              Plainview        NY       11803
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Foundation                                   Wiederkehr, LLP                           Alfred E Donnellan, Steven R Schoenfeld One North Lexington Ave, 11th Floor                               White Plains     NY       10601        srs@ddw-law.com
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Interested Party                             York                                      Lee, Kurt Schwab                         515 Broadway                                                     Albany           NY       12207-2964   kschwab@dasny.org
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Counsel to Citizens Bank, NA                 Drinker, Biddle & Reath, LLP              Michael P Pompeo                         Fl.                                                              New York         NY       10036        michael.pompeo@dbr.com
Top 20 Creditor                              EAB Royall and Company                                                             1920 E Parham Rd                                                 Henrico          VA       23228        eabhelp@eab.com
Counsel to Tate, Charles, Kraman, Octobre,
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                                             FHEG College of New Rochelle Campus
Top 20 Creditor                              Store                                     Store No 518                             3146 Solutions Center                                            Chicago          IL       60677        awilliamson@follett.com
Attorneys for Creditor Immediate Credit                                                                                                                              1801 Market Street, Suite
Recovery, Inc.                               Fineman Krekstein & Harris, P.C.          Richard J. Perr, Esquire                 Ten Penn Center                      1100                        Philadelphia     PA       19103        rperr@finemanalwfirm.com
                                                                                                                                1301 Avenue of the Americas, 25th                                                                       abauer@foleyhoag.com;
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                                             Industry and Local 338 Pension and
Top 20 Creditor                              Welfare                                                                            911 Ridgebrook Rd                                                Sparks Glencoe   MD       21152-9451   annd@associated-admin.com
Internal Revenue Service                     Internal Revenue Service                  Centralized Insolvency Operation         2970 Market St                                                   Philadelphia     PA       19104        Mimi.M.Wong@irscounsel.treas.gov
Internal Revenue Service                     Internal Revenue Service                  Centralized Insolvency Operation         PO Box 7346                                                      Philadelphia     PA       19101-7346   Mimi.M.Wong@irscounsel.treas.gov
Internal Revenue Service                     Internal Revenue Service                  Office of Counsel                        1600 Stewart Ave, Suite 601                                      Westbury         NY       11590
Top 20 Creditor                              Janney Montgomery Scott LLC                                                        1717 Arch Street                     22nd Floor                  Philadelphia     PA       19103
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Pension Fund, and Industry and Local 338
Welfare Fund                                Kauff McGuire & Margolis LLP               Elizabeth O’Leary                        950 Third Avenue, Fourteenth Floor                               New York         NY       10022        oleary@kmm.com
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Interested Party                             NRIDA                                     Dept of Development                      515 North Avenue                                                 New Rochelle     NY       10801
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NYS Dept. of Taxation/Finance                NYS Dept. of Taxation/Finance             Bankruptcy Special/Proc. Sec.            PO Box 5300                                                      Albany           NY       12205-0300
NYS Education Department                     NYS Education Department                  Aaron M Baldwin Assistant Counsel        89 Washington Ave                                                Albany           NY       12234




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                DESCRIPTION                                    COMPANY                                 CONTACT                               ADDRESS1                      ADDRESS2                   CITY          STATE       ZIP                          EMAIL
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Pension Benefit Guaranty Corporation          Pension Benefit Guaranty Corporation     Office of the Chief Counsel             1200 K Street, N.W., Suite 340                                   Washington         DC       20005-4026   efile@pbgc.gov
Secured Party                                 PS MArcato Elevator Co., Inc.                                                    44-11 Eleventh Street                                            Long Island City   N        11101
Top 20 Creditor                               REEC West 125th St LLC                   c/o Real Estate Equities Corp           18 East 48th St Penthouse                                        New York           NY       10017        ceefran@yahoo.com
                                              Registry for College & University
Top 20 Creditor                               Presidents                                                                       3 Centennial Drive                  Suite 320                    Peabody            MA       01960        info@registryinterim.com
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Top 20 Creditor                               Strata Information Group                                                         3935 Harney Street                  Ste. 203                     San Diego          CA       92110        accounting@sigcorp.com
Top 20 Creditor                               Tax Collector - New Rochelle             City Hall Tax Office                    515 North Ave                                                    New Rochelle       NY       10801        moliveros@newrochelleny.com
Debtor                                        The College of New Rochelle              Michael O'Donnell, Controller
Top 20 Creditor                               Transworld Systems Inc                   Attn Norcross Lockbox 24886             PO Box 5505                                                      Carol Stream       IL       60197-5505
U.S. Department of Education                  U.S. Department of Education                                                     400 Maryland Avenue, SW                                          Washington         DC       20202
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                                              Westchester Academic Library Directors
Top 20 Creditor                               Org.                                                                             118 N Bedford Rd                    Suite 100                    Mount Kisco        NY       10549-2555   john@waldolib.org
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